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      354    Slsenhower P.arkway
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      Attorneys for Dei.-endant

                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY



     ‘JNITED               OS AMERICA
                                                       Criminal No.       10—722   ••‘

                            Plainti Sf,

     vs.
                                                       ORDER 4ODIFYING SAIL
                                                       CONDITIONS
     STEVIE B(JCEUSE

                           Defendant.



             This matter being opened to the
                                             Court upon the aeplication
    of Sranzblau Dratch,            P.C.    (by Stephen N.      Dratch,   Esq.)    attorney
    for the defendant,            Stevie Buckuse and it having been

    represented to the Court that neit
                                       her the government nor
    Pretrial Services objects to the
                                     requested relief,                      and for good
    cause shown

            IT IS on this         /day of October 2010

            ORDERED that the defendant,            Stevie Buckuse be and is

    ].ereby nor mitted to reside at
                                    she home of Sandra hernandes,
                                                                                         439
   Spencer     St reet,    Ant.    I,    Elizabeth,   New Jersey 072r 8;     and it      is
      rthr


            ORDERED that all other conditi
                                           ons            referabLe to Ssevie
   Buckuse’ s bail.       conditisns be and she        sane hereby remain in
   pLace;    and it   is       further

           ORDERED that Sandra           Eernandez shall execute any and
                                                                         all
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      necessar c.ocuments to act as
                                    a surety for the defendant St.e
                                                                    vie
